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 Fill in this information to identify the case:

                     VR INVESTMENTS, LLC
 Debtor name ____________________________ _____ _____ _____ ______ _____ _____ _____ _

                                                      WESTERN
 United States Bankruptcy Court f or the: _______________________ District of ________
                                                                                                                 NC
                                                                                                                 (State)
                                      18-31637
 Case number (If known):              _________________________


                                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                                    amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                          12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a.   Real property:                                                                                                                                                                          639,000.00
                                                                                                                                                                                                  $ ________________
           Copy line 88 from Schedule A/B .....................................................................................................................................

     1b.   Total personal property:                                                                                                                                                                0.00
                                                                                                                                                                                                  $ ________________
           Copy line 91A from Schedule A/B...................................................................................................................................

     1c. Total of all property:                                                                                                                                                                    639,000.00
                                                                                                                                                                                                  $ ________________
           Copy line 92 from Schedule A/B .....................................................................................................................................




Part 2:          Summary of Liabilities




2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                   252,428.00
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..............................................                                                    $ ________________


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a.   Total claim am ounts of priority unsecured claim s:
                                                                                                                                                                                                   146,495.07
                                                                                                                                                                                                  $ ________________
           Copy the total claims from Part 1 from line 5a of Schedule E/F ....................................................................................

     3b.   Total am ount of claims of nonpriority am ount of unsecured claims:                                                                                                                     590,241.99
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .........................................................                                          +   $ ________________




4.   Total liabilities...................................................................................................................................................................          989,165.06
                                                                                                                                                                                                  $ ________________
     Lines 2 + 3a + 3b




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